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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AM ERICA,

Plaintiff,

v.

JESSE DUNCAN,

Defendant.                                                  05-CR-30015-DR-8



                                       ORDER

HERNDO N, District Judge:

             The operators of the current holding facility and the Office of the United

States Marshall shall have the Court’s authorization to allow Defendant Jesse

Duncan (“Defendant”) to marry his fiancee, Loretta McG owan, at Defendant’s

expense, provided the appropriate security can be maintained to protect all

concerned.




             IT IS SO ORDERED.

             Signed this 16th day of November, 2005.



                                                      /s/         David RHerndon
                                                       United States District Judge




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